  Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 1 of 18 PageID #: 8


Caleasies Parish Clerk of Court          son                                      14* Judicial Distact Court
PO Box 1030                             PESA                                                 State of Lovisiana
Lake Charles, LA 70602                  A van     }                                        Passh of Calcasiev




                                  NEW   CIVIL FILING




TALL AND BLONDE NIGHTLIFE LLC

VS.   2024-002825

COVINGTON SPECIALTY INSURANCE COMPANY




       Sidney Broussard
       Deputy Clerk of Coust




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                                                     State of Louisiana
                                                     Secretary of State

                                                                                                     Legal Services Section
                                                              08/08/2024                  P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                                         (225) 922-0415




     COVINGTON SPECIALTY INSURANCE COMPANY
     C/O CORPORATION SERVICE COMPANY
     450 LAUREL STREET, 8TH FLOOR
     BATON ROUGE, LA 70801



     Suit No.: 20242825
     14TH JUDICIAL DISTRICT COURT
     CALCASIEU PARISH

     TALL AND BLONDE NIGHTLIFE, LLC
     vs
     COVINGTON SPECIALTY INSURANCE COMPANY


     Dear Sir/Madam:

     I am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended
                                                                                                               recipient of
     this document, please return it to the above address with a letter of explanation. AII other questions regarding
                                                                                                                       this
     document should be addressed to the attorney that filed this proceeding.




                                                                                     Yours very truly,

                                                                                     NANCY LANDRY
                                                                                     Secretary of State




Served on: NANCY LANDRY                                                Date: 08/07/2024
Served by: B GARAFOLA                                                  Title: DEPUTY SHERIFF



                                                                                                    No:1336821

KC
       Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 3 of 18 PageID #: 10

                                  Citation for Petition
     TALL AND BLONDE NIGHTLIFE LLC                                                                         14`h Judicial District Court
     VS.    2024-002825                                                                                             State of Louisiana
     COVINGTON SPECIALTY                                                                                           Parish of Calcasieu
     INSURANCE COMPANY
        THE STATE OF LOUISIANA
         TO: COVINGTON SPECIALTY                                                                                  SERVED ON
                INSURANCE COMPANY                                                                               RlAt~CY LAÏ4DRY
                THROUGH SEC OF STATE 8585
                ARCHIVE AVE                                                                                                 ® `7 2024
                Baton Rouge, LA 70809
        Parish of East Baton Rouge                                                                          SECRETARY OF STATE
                                                                                                           COMAAERCIAL D9bISION
        You are named as defendant in the above captioned matter. Attached to this citation is a:
                 PETITION FOR DAMAGES
        You must either comply with the denand contained in the petition of TALL AND BLONDE NIGHTLIFE
        LLC         , or make an appearance either by filing an answer or pleading in the 14 judicial District Court
        located at 1000 Ryan St., Lake Charles, LA within the delay provided in Article 1001 of the Louisiana Code of
        Civil Procedure under penalty of default.
                 Article 1001 of the Louisiana Code of Civil Procedure states:
                 G. A Defendant shall file his answer within twenty-one (21) days after service of Citation upon
                      him, except as otherwise provided by law.
                      If the plaintiff files and serves a Discovery Request with his Petition, the Defendant shall file his
                      answer to the petition within thirty (30) days after service of citation and service of discovery
                      request.
                 H. When an Exception is filed prior to Answer and is overruled or referred to the merits, or is
                      sustained and an Amendment of the Petition ordered, the Answer shall be filed within fifteen
                      (15) days after the exception is overruled or referred to the merits, or fifteen (15) days after
                      service of the Amended Petition.
                 I. The Court may grant additional time for answering.
                 Article 1151 of the Louisiana Code of Civil Procedure provides in pertinent part:
                 A defendant shall plead in response to an Amended Petition within the time remaining for pleading
                 to the Original Pleading or within ten (10) days after service of the Amended Petition, whichever
                 period is longer, unless the time is extended under Article 1001.
                 THE CLERK OF COURT'S STAFF CANNOT PROVIDE LEGAL ADVICE.
        Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 8th day of July 2024.
        Issued and delivered July 28, 2024.




                                                                      Thomas Cole
                                                                      Deputy Clerk of Court
----------------------------------------------------------------------------------------------------
                                         SERVICE INFORMATION
        Received on the          day of                        20_, and on the                    day of                           20_,
        served the above named party as follows:

        PERSONAL SERVICE on the party herein named

        DOMICILIARY SERVICE on the party herein named by leaving the same at his domicile
        in the parish in the hands of                                     , a person apparently over the age of seventeen years,
        living and residing in said domicile and whose name and other facts connected with this service, I learned by
        interrogating the said person, said party herein being absent from his residence at the time of said service.
        RETURNED:
        PARISH OF                                     this        day of                       20
        SERVICE              $
                                                                        Deputy Sheriff
        yIILEAGE             $

        TOTAL $

        Party No.          P001




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                                                               Case Number: 2024-002825
                                                               Document Name: 1604 Citation for Petition
        [ Service Copy ]
        CMS1604                                                                                                      Page 1 of 1
          Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 4 of 18 PageID #: 11

                                 You Are Hereby Notified - Civil
         TALL AND BLONDE NIGHTLIFE LLC     :~gv oF.co~,4                                                         14`'' Judicial District Court
         VS.     2024-002825                                                                                            - State of-Louisiana
                                                                  r~          f~1
         COVINGTON SPECIALTY                                               .
                                                                       ..<o~ ~ ;                                          Parish of Calcasieu
         INSURANCE COMPANY

         THE STATE OF LOUISIANA


         TO: COVINGTON SPECIALTY
             INSURANCE COMPANY
             THROUGH SEC OF STATE 8585
             ARCHIVE AVE
             Baton Rouge, LA 70809

         YOU ARE HEREBY NOTIFIED:

         IT IS REQUESTED THAT DEFENDANT RESPOND WITHIN THE TIME DELAYS ALLOWED BY LAW
         TO THE DISCOVERY PROPOUNDED BY PLAINTIFF.

         ALL IN ACCORDANCE WITH CERTIFIED COPY ATTACHED HERETO AND MADE A PART
         HEREOF.

         Witness the Honorable Judge of said Court, at Lake Charles, Louisiana, this 8TH day of JULY 2024.
         Issued and delivered July 28, 2024




                                                                Thomas Cole
                                                                Deputy Clerk of Court



----------------------------------------------------------------------------------------------------
                                            SERVICE INFORMATION
         Received on the          day of                       20_, and on the                 day of                          20_, served the
         above named party as follows:

         PERSONAL SERVICE on the party herein named

         DOMICILIARY SERVICE on the party herein named by leaving the same at his domicile
         in the parish in the hands of                                      , a person apparently over the age of seventeen years, living
         and residing in said domicile and whose name and other facts connected with this service, I leamed by interrogating the said
         person, said party herein being absent from his residence at the time of said service.
         RETURNED:
         PARISH OF                                   this         day of                        20

     -   SERVICE              $                                  BY:
                                                                         Deputy Sheriff
         MILEAGE              $

         TOTAL $

         Party No.          P001




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Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 5 of 18 PageID #: 12




       TALL AND BLONDE NIGHTLIFE, LLC                           :    14" JUDICIAL DISTRICT COURT

       VS. NO.                                                  :    PARISH OF CALCASIEU

       COVINGTON SPECIALTY INSURANCE
       COM ANY     Calcasieu                                    :    STATE OF LOUISIANA                   (
                           H. Lynn Jones, 11
       FILE :              • Jo Ann Hanks
                      Suit#2024-2825 B                               DEPUTY CLERK OF COURT
                E-Filed on: 7/08/24 04:28 PM
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                 The petition of TALL AND BLONDE NIGHTLIFE, LLC, a limited liability company,

       whose members are both domiciled in Calcasieu Parish, Louisiana, respectfully represents:



                 Made defendant herein is:

                 1.        .COVINGTON SPECIALTY INSURANCE COMPANY, a foreign corporation
                            authorized to do business in the State of Louisiana, which may be served through
                            its agent for service of process, Louisiana Secretary of State, 8585 Archives
                            Avenue, Baton Rouge, Louisiana 70809.

                                                               ,1

                 On or about April 10, 2024, a thunderstorm which produced tornadic activity passed

      through Lake Charles, Calcasieu Parish, Louisiana and damaged a number of homes and

       businesses. The April 10, 2024 weather event is hereafter called "the storm."

                                                               3.

                 At the time of the storm, Tall and Blonde Nightlife, LLC operated as a business

      establishment under the trade name Library Riot, which is located at 2601 Ryan Street, Lake

      Charles, Louisiana.

                                                               G1A

                At the time of the storm, there was in full force and effect a policy of insurance issued by

      Covington Specialty Insurance Company, to Tall and Blonde Nightlife, LLC, providing insurance

      coverage for the company's business personal property and loss of business income and extra

      expenses.

                                                               5.

                The storm severely damaged the building where Ta11 and Blonde Nightlife, LLC operates

      Library Riot, and as a result, to date, the business has not been able to operate pending repairs.

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   Document Name: PETITION
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 6 of 18 PageID #: 13




     Further, a number of items of business personal property were damaged and either require repair

     or replacement.



             After the storm damaged the building, Tall and Blonde Nightlife, LLC instituted a claim

     for payment of business income loss, extra expense, and business personal property losses with

     Covington Specialty Insurance Company.

                                                       7.

             Representatives of Tall and Blonde Nightlife, LLC provided Covington Speciality

     Insurance Company with satisfactory proof of loss of the business personal property. It took greater

     than 30 days for Covington Specialty Insurance Company to make any payment with regard to the

     business personal property, and even when such payment was made, it was incomplete and

     insufficient.

                                                       8.

             On or about May 13, 2024, Covington issued a check in the amount of $33,708.55 for

     actual cash value of business property losses after deduction for sign maximum payment,

     depreciation, and applicable deductibles. The amount was insufficient to pay the full losses

     sustained, and Covington knew of the additional losses but failed to pay for them without reason

     or justification.



             Representatives of Tall and Blonde Nightlife, LLC provided Covington with satisfactory

    proof of loss of the business income losses and extra expense incurred and continuing to be

     incurred.

                                                      10.

             On June 11, 2024, Covington issued a check for $40,468.68 for remaining value of

     depreciation of the business property losses and for a portion of the business income and extra

     expense losses. However, the payment was insufficient to pay the full losses despite Covington

     having all infctrmation regarding the full value of the losses without reason or justification.



             Covington undeniably owes Plaintiff the amounts reflected in the satisfactory proof of loss
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 7 of 18 PageID #: 14




     sent and has failed to unconditionally tender the amounts owed for each coverage applicable to

     this claim.

                                                      12.

            Covington is in breach of its obligations to Plaintiff under the insurance policy by its refusal

     to timely pay the amounts owed under the policy.

                                                      13.

             Louisiana Revised Statute 22:1892 obliges an insurer, such as Covington, to pay the

     amount due any insured within thirty (30) days after satisfactory proof of loss and states that failure

     to make such payment subjects the insurer to a penalty, in addition to the amount of the loss, of

     fifty percent damages on the amount due from the insurer to the insured, as well as reasonable

     attomey fees.

                                                      14.

            Louisiana Revised Statute 22:1973 imposes on insurers, such as Covington, in first party

     claims, a duty of good faith and fair dealing which includes an affirmative duty to adjust claims

     fairly and promptly and to make reasonable efforts to settle claims with insureds, such as Plaintiff.

     Section 1973 makes any mis- representation of pertinent facts a breach of that duty of good faith

     and fair dealing. Section 1973 also requires payment of any claim due an insured within sixty (60)

     days of proof of loss. Any insurer who breaches the obligations imposed by Section 1973 is liable

     for damages sustained as a result of the breach as well as a penalty of up to two-times the damages

    sustained, along with applicable attorney fees and costs.

                                                      15.

            Covington Specialty Insurance Company's failure to timely pay a proper amount to Tall

     and Blonde Nightlife, LLC for business personal property, business income, and extra expense,

    was arbitrary, capricious, and without probable cause, and as a result, Covington is responsible for

     penalties and attorney fees as described in La. R.S. 22:1892.

                                                      16.

            At the time this suit will be filed, sixty days will not yet have elapsed since COVINGTON

     received satisfactory proof of loss. However, as a result of the delay in payment of losses, Tall and

     Blonde Nightlife, LLC has already suffered damages because in order to pay its ongoing expenses,
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 8 of 18 PageID #: 15




    1.'al1 and Blonde Nightlife, LLC is obtalnlng a loan that wou.ld not havc been zlecessary if

     COVINGTON VVoUld llave tln1C',ly paid the aInoLlllts dLlt'.. I f bl'eater tllatl sixty days elapses, then

     the provisions of La. R.S. ?2:1973 will apply amcl Covington will be responsihle for such clamages

     caused by t.h.e breacli, plus t~vo times the da.inages, as well as reasonable attor.ney fees.

                                                          17.

             The damages suffered by "l:'all ancl Bloiide Nightlife, :LLC exceed the au~ou.nt necessary for

     a trial liy.
                jury.

                                                          18.

             Petitioner desires and is entitleci to have the attached written cl.iscovcry inacle a part he.reol;

    and the .Uefend.ant, COvIIigton Specialty In$LLraIlce COIn]clny, o:rclered to provide full and complete

    responses to the sanie within the tinze liinits permittecl by law.

             W:1=iERL'FOR.I:3, after clue proceedings hereon, Plaint.i:l'i:, 'T'all a1ld Blonde Nlghtllte, LLC,

    prays for judbrrien.t in lier favor <igainst Def.'cnclant, C(:)VINGTON SPECIALTY INSURf1NCF

    COMI'f1NY, finding Def:endantt in bi-each of bot:h the insw•ance policy and its statLutory obligations

    and ther-efore 1'iable Ltnto •Pla:intiff i:or all amounts due under the poli.cy, as well as statutory

    pen.clltles, danlages, at:torneys' fees, int:crest and costs.

    Respectfully sllbn7l.tte.d,

    THE JOHNSON FIRM
    1419 Ryan Street
    P.O. Box 849                                                                      A TRUE COPY
    L:ak.e Charles, A 70602                                                             e Chaes, ou' iana
    (3 37) 433-1 41 4/"I'elephone
    (337) 433-3234/liacsimile                                              Deputy Clerk of Court
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             ,~~l~nsc~nfirml~~,cc7m                                        Caloneieu Parlsh, Louielana




    By:
            hIL13UI2N S. LANnRY, No. 33230

    ANI)

    TII F I:I iNCI=I F I RN[.
    1400 Ryan. Street.
    Lake Cliarle.s,,LA •70601
     (337) 9=10-9224/Telephone
     (337) 409-01.24/.Facsinlile
    shane~ .ìhanehincll.co.rn


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Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 9 of 18 PageID #: 16




    Note to clerk:

     Please serve Covington Specialty Insurance Company through:
     Louisiana Secretary of State,
     8585 Archives Avenue, Baton Rouge, Louisiana 70809
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 10 of 18 PageID #: 17




     TALL AN:D BLONDE N.T.GI~I7'LI.Ft;, LLC                :      14" .IUDI.CIAL DIS'~I'RIC"I- COUR"I"

     VS. NO.                                                      PARISH OF CALCASIF-U

     COVINGTON SI'LCIAL":I:'Y INSUIZANC:E
     ('OIvI3'ANY      Calcasieu               STA'I'E OF LOUISIANA
                  H. Lynn Jones, 11
     FIL:L;D:   _ Jo Ann Hanks
                  Suit#2024-2825 B           DI;PU"TY CT..,ERK OF COUR"I'
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                          OF ASSIGNM.CNT AND WRITTEN NOT:ICE
                   OF ANY O.RDLR n.R JUDGMENT MADE OR REN:DT:RE1)

     TO:     Honorable Llynn .lones
             Clerlc of Cou►'t
             Ca.lcasieu Pai-ish Courthouse
             Lake Charles, I:.,ouisiana 70601

             I.n accordance w•itli the provisions of'LSA - C.C.P. 1 571 a,ncl 1572, you are h.ereby requested

     to give the und.ersigned, a's counsel for petitioners, in the above captionecl matter, written notice,
                                        1




     by rnail, ten (j 0) days in aclvance of any dat:e fixed for trial or hearing of the case, 1vhether on

     exception, rules or the merits the.reoi:

            In accordance witl.l tlie. provisions of LSA - C.C.P. 1914 and 1915, you are hereby

     additionally requested to send us inimediate aiotice of any order• or judgment made or rencle.red in

     this case on'the entry ofsuch order or judgment.

     fZespec:tfully submitted,

    T:HE JOHNSON FIRM                                          '1'HE IIINCFI FIIt..M
    141.9 Ryan Str'eet                                         1.400 Ryan Sti-eet
    P.O. Box 849                                               I:.,akc Charles, LA 706() l.
    Lake Charles, LA 70602                                      (337) 940-92?4/1'eleplione
    (337) 433-1.414/Telephone                                   (33 7) 4()9-01. 24/F acsimile
    (337) 433-3234/1'acsiinile                                 slaaner."citshaneliinch.coni
    kilburncjohz~sonf%?la,coni

    I3y:
            KILBURN S. LANDRY, No. 33230                       ,SHAN:lk~C. .HTI~f.+C:H, Nc3, 29600




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Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 11 of 18 PageID #: 18




       TALL AND BLONDE NIGHTLIFE, LLC                  .     14TF1 JUDICIAL DISTRICT COURT

       VS. NO.                                         :     PARISH OF CALCASIEU

       COVINGTON SPECIALTY INSURANCE
       COMPANY          Calcasieu          : STATE OF LOUISIANA
                    H. Lynn Jones, 11
       FILED:        Jo Ann Hanks
                    Suit#2024-2825 B         DEPUTY CLERK OF COURT
              E-Filed on: 7/08/24 04:28 PM
                      # of Pages:6
                        FIRST WRITTEN DISCOVERY 70 DEFENDANT.
                      COVINGTON SPECIALITY INSURANCE COMPANY

       TO:    Covington Specialty Insurance Company
              By and through its registered agent
              Louisiana Secretary of State
              8585 Archives Ave.
              Baton Rouge, LA 70809

              Plaintiff, Tall and Blonde Nightlife, LLC, propounds the following written discovery

       upon deferidant, Covington Specialty Insurance Company, to be answered under oath within the

       time limits allowed by the Louisiana Code of Civil Procedure:
   ,
       DEFINITIONS

              "You," "Your," or "Insurer" means the person or entity to whom this discovery is
              propounded, its employees, agents, and all representatives or other persons acting
              on behalf of them including but not limited to THEIR attomey.

              "Document" includes writings, drawings, graphs, charts, photographs, and other
              data compilations from which information can be obtained, translated, if necessary,
              by this defendant through detection devices into reasonably usable form.

             "Identify" or "Identification" when used with respect to an individual means to state
             their name, present or last known address and present or last known place of
             employment.'

             "Identify" or "Identification" when used with respect to a corporation, limited
             liability company, or any other form of juridical person means to state the legal
             name, , any trade names or "d/b/a," domicile address, state of
             incorporation/organization, and registered agent in the State of Louisiana, if any.

             "Identify" or "Identification" when used with respect to a document means to state
             the type of document(s) (e.g., memorandum, contract, telegram, chart, etc.) or some
             other means of identifying its location and custodian, the date thereon, if any, and
             the identity of the party or parties whose name or names appear thereon or, in lieu
             thereof, you may attach to your answers to these interrogatories a copy of each such
             document.

              "Claimed Loss" means the loss or damage that the Insured seeks to recover from the
             Insurer in the litigation.

             "Event" means the stonn that occurred on the date of loss identified in the petition.

             "Property" meaning 2601 Ryan Street, Lake Charles, LA, that the Insured claims
             coverage for under the Policy in the litigation.

             "Insured" means Plaintiffs, Tall and B1cnttP Niah+HfP i-T-c
                                                       IIIIIIIIIIIIIIIIIIIIIIIIII111 IIIIIIIIIIIIIIIIII I III
                                                             C M S 9 0 1 2 1                     0   9
                                                       Filing Date: 07/08/2024 12:00 AM                    Page Count: 6
                                                       Case Number: 2024-002825
                                                       Document Name: PLEADING
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 12 of 18 PageID #: 19




     INSTRUCTIONS:

             A.      In answering the Interrogatories, you are requested to furnish all information known
             or available to you regardless of whether this information is possessed directly by you or
             by your agents, employees, or representatives, or by your attorneys, their agents,
             employees, or representatives.

             B.      If any of the Interrogatories cannot be answered in full, please respond to the extent
             possible, specifying the reasons for your inability to respond to the remainder and state
             whatever information, knowledge, or belief you do have concerning the unanswered
             portion.

             C.     If you claim privilege as to any matter requested, please give a detailed description
             of such privilege to allow plaintiff and the Court to ascertain the viability of the privilege.

             D.     Each Interrogatory is of a continuing nature. If, after serving an answer to any
             Interrogatory, you obtain or become aware of any further information that is responsive to
             such Interrogatory request, please serve amended answers setting forth such information.

             E.      All documents should be produced in compliance with La. C.C.P. art 1462(C),
             specifically the requirement that each party "shall organize and label them to correspond
             with the categories of the request." If applicable, please refer to the page numbers,
             document titles, etc. A generalized "see attached documents" will be considered an
             insufficient response.

     INTERROGATORY NO. 1:

             Please identify by name, address, and relationship to Defendant all persons providing

     factual information and/or assistance in answering Plaintiffls written discovery in this case.

     INTERROGATORY NO. 2:

            In accordance with LSA-C.C.P. art. 1422, please identify all persons having knowledge of

     any discoveral~le matter.

     INTERROGATORY NO. 3:

            For all documents that you claim are privileged in response to Plaintiff's written discovery,

     please identify the nature of the documents, communications, or things not produced, the attorney

     and/or client involved, the litigation and/or anticipated litigation involved, all recipients and past

     custodians of the documents and/or materials, whether or not such documents and/or materials has

     ever been used affirmatively in litigation, and whether or not there have ever been court rulings

    determining the documents/materials privileged status. See LSA-C.C.P. art. 1424(C).

     INTERROGATORY NO. 4:

            Please identify each person by name, address, occupation and title whom you expect to call

    as an expert witness at trial and state the subject matter on which the expert is expected to testify

    as well as the substance of the facts to which the expert is expected to testify.
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 13 of 18 PageID #: 20




     INTERROGATORY NO. 5:

             Please identify all experts by name, address, occupation, and title whom you have retained

     or specially employed in anticipation of litigation or preparation for trial and whom you do not

     expect to call as a witness at trial.

     INTERROGATORY NO. 6:

             Please identify all witnesses by name, address, and relationship to Plaintiff or Defendant

     (if any) that you may or will call at the trial of this matter, and for each, give a brief statement of

     their expected testimony.

     INTERROGATORY NO. 7:

             Please identify all exhibits you may or will introduce at the trial of this matter.

     INTERROGATORY NO. 8:

             Please identify all witnesses, documents, and facts upon which you based any affirmative

     defenses you asserted in your Answer to the Petition for Damages filed in this case.

     INTERROGATORY NO. 9:

             Please state any Policy terms or conditions that you allege Ta11 and Blonde, LLC, failed to

     comply with, including conditions precedent or other terms.

     INTERROGATORY NO. 10:

             Please state the date, amount, and coverage for any payments previously made under the

     Policy relating to the Event.

     INTERROGATORY NO. 11:

             Please state a general description of any other basis for nonpayment of the Claimed Loss,

     in whole or in part.

     INTERROGATORY 12:

             Identify all adjuster(s) who handled the claim at any time, and for each, the dates they

     handled the claim.

     INTERROGATORY NO. 13:

             Identify all individual(s) who evaluated, recommended, made, approved, or rejected the

     claim decisions made in this case.

                                      REOUESTS FOR PRODUCTION

     REOUEST FOR PRODUCTION NO. 1:

             Please produce a certified copy of all insurance policies which may be applicable to the
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 14 of 18 PageID #: 21




     allegations in this matter.

     REOUEST FOR PRODUCTION NO. 2:

             Please produce a copy of all statements, in any format, you have taken in this case or which

     in any way relate to the facts surrounding this case.

     REOUEST FOR PRODUCTION NO. 3:

             Please produce all exhibits you may or will introduce at the trial of this matter and/or at

     any hearings.

     REOUEST FOR PRODUCTION NO. 4:

             Please produce a report in compliance with LSA-C.C.P. art. 1425(B) that includes all

     documents reviewed and/or relied upon by experts whom you anticipate calling at the trial of this

     matter, exhibits to be used as a summary of or in support of the expert's opinions, the qualifications

     of the expert witness, any publications he or she has authored within the past ten (10) years, the

     compensation which will be paid to the expert witness, and a list of any other cases in which he or

     she has testified as an expert either at trial or in deposition within the past four (4) years.

     REOUEST FOR PRODUCTION NO. 5:

            Please produce all expert reports related to this case, companion cases, or similar cases.

     REOUEST FOR PRODUCTION NO. 6:

            Please,produce a copy of the entire claim file for the subject claim, including all claims

     notes, communications between insurer and insured, communications between your employees

     regarding the claim or the insured, communications between the insurer and any vendors

     (inspectors, contractors, engineers, auditors, third-party administrators, or otherwise), audit trails,

     documents reflecting reserves and reserve decisions and audit trails.

     REOUEST FOR PRODUCTION NO. 7:

            A complete, certified copy of the Policy in effect at the time of the Event.

     REOUEST FOR PRODUCTION NO. 8:

            Please produce any and all Assessments of the Claimed Loss, including: loss reports, expert

     reports that contain any description or analysis of the scope of loss or any defenses under the

     Policy, damage assessments, adjuster's reports, engineering reports, contractor's reports, and

     estimates of repair or replacement. This shall include all reports or analyses, including all drafts,

     prepared as part of the evaluation or claims process involving Insured's claim by Insurer, or

     documents or records reviewed in any way in connection with Insurer's handling of the claim.
Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 15 of 18 PageID #: 22




     REOUEST FOR PRODUCTION NO. 9:

             Please produce any and all photographs and videos of the Property taken for the purpose

     of documenting the condition of the Property, including photographs and videos of the Claimed

     Loss.

     REOUEST FOR PRODUCTION NO. 10:

             Please produce any and all other evaluations of the Claimed Loss aside from those

     produced in response to Requests above.

     REOUEST FOR PRODUCTION NO. 11:

             Please produce any and all documents containing recordings, transcripts, or notes of

     statements, conversations, or communications by or between the Insurer and the Insured relating

     to the Event.

     REOUEST FOR PRODUCTION NO. 12:

             Please produce a copy of any claim log, journal, diary, or record maintained by the Insurer

     relating to the Claimed Loss. This includes all written records, written communications, records

     of oral communications, reports, audits, or other records, including any documents, envelopes,

     logs or other documents evidencing when Insurer came into possession of any such records,

     regarding any aspect of the Insured's claim or that are in any way relating to the Insurer's

     investigation into the Claiined Loss, Insurer's processing of Insured's claim (including adjustment,

     evaluation, and handling), or Insurer's claim decision.

     REOUEST FOR PRODUCTION NO. 13:

             Please produce a copy of the complete underwriting file maintained by the Insurer relating

     to the Property, its condition, or coverage.

     REOUEST FOR PRODUCTION NO.'14:

             Please produce a copy any and all proofs of loss for the Claimed Loss.

     REOUEST FOR PRODUCTION NO. 15:

             Please produce a copy of any manuals, policies, directives, guidelines, instructions

     (whether written, electronic, or otherwise), literature, or similar written materials that would

     pertain to the Claimed Loss, or to similar types of claims generally such that they would therefore

     be applicable to the Insured's claim. This includes any document that Insurer relied upon, or

     intends to rely upon, pertaining to industry guidelines, standard practices, or recommended

     practices for adjusting first party claims.
    Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 16 of 18 PageID #: 23



                                                   s




         12EOUEST FOR P.RODUCTI:O.N NO. 16:                                                ,

                  I'or any and all persons and companies identif ecl in your answer to Interrogatory No. 17,

         •please produce a copy of any and all paytnents made to• eacli in relation to Plailltiff's claims,

         invoices, contracts Uetv'een you and each of th.ein, and aiiy docUn7eIIts re'llecting how sL1Cl1 InVOICes

         or paynlents tvcre calculated.


         Respectfiilly submitted,

         THE JOHNSON FIRM
         1=I19 .R:yari Sti'ect
         P.O.:Box 849
         Lake Charles, Lf1. 70602
         (337) 433-1414/Telephone
         (337) 433-3234/Facsiill'ile
         ki lbui~i~(a%i ollnso iiii rna la.com

           r
         B) :     ~`~~-~~•-''~~
                  KILBURN S. :LANDRY, No. 3323()

         AND
                                                                                         /a TRIJE COPY
         THE HINCH. FIRM.                                                              Lake Charles, Louiri    a
         1400 Ryan Street
         Lake Charles, LA 70601                                               Deputy Clerk of Court
                                                                              Calcasieu Pariah, Louisianp
          (337) 940-9224/Telephone
          (337) 409-0124/I'acsirnile
         shan.efa7shanehincll.conl




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Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed 09/06/24 Page 17 of 18 PageID #: 24


                                          Notice of Service
TALL AND BLONDE NIGHTLIFELLC                 gg tj,                                    14* Judicial District Coust
VS. 2024-002825                              NENA                                               State of Louisiana
COVINGTON SPECIALTY                          Ae At                                             Parish of Calcasien
INSURANCE COMPANY                            Seri
     TO: KILBURN $ LANDRY
         THE JOHNSON FIRM
         =P O BOX 849
              LAKE CHARLES, LA 70602


     Service issued to: COVINGTON SPECIALTY INS CO/LA SOS

     Date of Service:   08/07 /2024

     Number of Service:    1

     Personal /Domiciliarr: PERSONAL SERVICE

     Pleading served:      1604 CITATION FOR PETITION


     Issued by the Clerk of Court on the 20th dar of August 2024.




                                                     Ani E Bounty
                                                    Los Bruner
                                                    Deputy Clerk




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Case 2:24-cv-01230-JDC-TPL Document 1-1 Filed4 09/06/24 Page 18 of 18 PageID #: 25
                                                                      Citation for Petition
        TALL AND BLONDE NIGHTLIFE LLC                                                                                       14" Judicial District Court
        VS.  2024-002825                                                                                                             State of Louisiana
        COVINGTON SPECIALTY                                                                                                         Parish of Calcasieu
        INSURANCE COMPANY
          THE STATE OF LOUISIANA
           TO: COVINGTON SPECIALTY
                INSURANCE COMPANY                                                                                FILED? AUG 2 0 2024
                THROUGH SEC OF STATE 8585                                                                           Ae b ANN
                ARCHIVE AVE
                      Baton Rouge, LA 70809                                                                      Deputy Clerk of Court |                                4
                                                                                                                                Parish, Lot               1a
          Parish of East Baton Rouge
          You are named as defendant in the above captioned matter. Attached to this citation is a:
                  PETITION      FOR DAMAGES
          You must either comply with the demand contained in the petition of TALL AND BLONDE NIGHTLIFE
          LLC       , or make an appearance either by filing an answer or pleading in the 14% Judicial District Court
          located at 1000 Ryan St., Lake Charles, LA within the delay provided in Article 1001 of the Louisiana Code of
          Civil Procedure under penalty of default.
                   Article 1001 of the Louisiana Code of Civil Procedure states:
                   D. A Defendant shall file his answer within twenty-one (21) days after service of Citation upon
                        him, except as otherwise provided by law.
                        If the plaintiff files and serves a Discovery Request with his Petition, the Defendant shall file his
                        answer to the petition within thirty (30) days after service of citation and service of discovery
                               request.
                      E.       When       an Exception is filed prior to Answer and is overruled or referred to the merits, or is
                               sustained and an Amendment             of the Petition ordered, the Answer             shall be filed within fifteen
                           (15) days after the exception is overruled or referred to the merits, or fifteen (15) days after
                           service of the Amended Petition.
                      F. The Court may grant additional time for answering.
                      Article 1151 of the Louisiana Code of Civil Procedure provides in pertinent part:
                      A defendant shall plead in response to an Amended Petition within the time remaining for pleading
                      to the Original Pleading or within ten (10) days after service of the Amended Petition, whichever
                      period is longer, unless the time is extended under Article 1001.
                  THE CLERK OF COURT" STAFF CANNOT PROVIDE LEGAL ADVICE.
          Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 8th day of July 2024.
          Issued and delivered july 28, 2024.




                                                                                      AGL
                                                                                    Thomas Cole
                                                                                    Deputy Clerk of Court

                                                               SERVICE INFORMATION

          Received        on   the            day   of                       20___,    and   on   the           day   of                                       20__,
          served the above named party as follows:
                                                                                                                                                                                           n th
                                            on the party herein named                                                                            the named party throug!
          PERSONAL SERVICE
                                                                                                                           ade genic       on                                   state on
          DOMICILIARY SERVICE on the party herein named by leaving the same at his domicik™                             e secretary o
          in the parish in the hands of                                        a person apparently over heofecsiencen years,
          living and residing in said domicile and whose name and other facts connected with this service, wee? 9024
                                                                                                                                         document to:
          interrogating the said person, said party herein being absent from his residence at the time of said service.
                                                                                                                        a copy  ot thy |   Y
          RETURNED:
          PARISH OF                                            this          day of                             20          by o                     E OIT
          SERVICE                    $                                       BY:                                        TT
                                                                                                                                           OLA         HOST
                                                                                                                                          8 GARAFOL AE 7 Rouge:
                                                                                      Deputy Sheriff                       __ DY          =               BTS! EastBa
          MILEAGE                    $                                                                                     Deputy RECEIVED
                                                                                                                                                DATE.
          TOTAL       $

          Party No.              P001
                                                                                                                                       AU6 0 6 2024
                                                                                                                                                                    Office
                                                                                                                                     E.B.R. Sheriff's




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          | Original Copy |                                                                                                                           ™        mS
          CMS1604                                                                                                                       Page 1 of 1                 “ee
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